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ELLIOT ENOKI
United States Attorney
District of Hawaii

MICHAEL CHUN

Chief, Civil Division

R. MICHAEL BURKE

Assistant U.S. Attorneys

Room 6-100, PJKK Federal Building
300 Ala Moana Bivd.

Honolulu, Hawaii 96850-6200
Telephone: (808) 541-2850

Attorneys for Defendant
JOHANNES C. LINSCHOTEN

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

CRIMINAL NO. te)
(District Court, First
Circuit, Honolulu
Division, Citation

Nos. 034721A and 034722A)}

STATE OF HAWAII,
Plaintiff,
vs.
NOTICE OF REMOVAL OF

STATE ACTION; EXHIBIT "A";
CERTIFICATE OF SERVICE

JOHANNES C. LINSCHOTEN,

Defendant,

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NOTICE OF REMOVAL OF STATE ACTION

Comes now the United States of America, on behalf of a
federal employee of the United States Government, Johannes Cc.
Linschoten, by and through its undersigned attorneys, and sets.
forth the following facts on Mr. Linschoten's behalf in SUPDOFT -
of this Notice of Removal of State Action.

1, On June 26, 2001, two State Citations Numbers

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O34721A and 034722A, were issued by a State employes, badge ID
No. 512030, to Johannes C. Linschoten. The citations charced said
Linschoten failed to yield right of way to aircraft at taxiway,

in alleged violation of Section 13-1584-24{0); and also charged

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in alleged violation of Section 19-1584-24 (0); and also charged
with operating a vehicle on a ramp taxiway, in alleged violation
of Section 19-1581-31-1(2).

2. A copy of the two (2) citations are attached
hereto as Exhibit "A",

3. The above-named action is an action which may be
removed to this court by the United States of America on behalf
of federal employee Johannes c. Linschoten pursuant to the
provisions of Title 28, United States Code, § 1442 in that at all
times referred to in the citations, Johannes C. Linschoten was
and is now employed as a United States Government employee of the
United States Department of Transportation, Federal Aviation
Administration, and at all times relevant herein, Mr. Linschoten
was operating under color of that office.

4. At all times mentioned in the citations, Mr.
Linschoten was acting solely under color of his office and in the
performance of the duties of his office and within the course and
‘Scope of his employment. As such, he is entitled to all-of the
privileges and immunities that are offered to the United States”
Of an agency or employee thereof from the state action which is
the subject of the two state citations.

WHEREFORE, United States of America Gives notice that

the above-action now pending against Mr. Johannes C. Linschoten

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in the District Court of the First Circuit, Honolulu Division,
State of Hawaii, is removed therefrom to this Court.
DATED: August 6, 2001, at Honolulu, Hawaii.
ELLIOT ENOKI

United States Attorney
District of Hawaii

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MICHAEL CHUN

Chief, Civil Division
R. MICHAEL BURKE
Assistant U.S. Attorney

